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   4    P.O. Box 17933
        San Diego, CA 92177-0933
   5    Telephone: (858) 750-7600
        Facsimile: (619) 590-1385
   6

   7    Attorneys for
        U.S. Bank National Association, as Indenture
   8    Trustee for Towd Point Mortgage Trust Asset-
        Backed Securities, Series 2015-1
   9
                                        UNITED STATES BANKRUPTCY COURT
  10
                     NORTHERN DISTRICT OF CALIFORNIA - SANTA ROSA DIVISION
  11
           In re                                                        Case No. 20-10093
  12
           NORMA MATHILDE FLORES,                                       Chapter 13
  13
                                                                        OBJECTION TO CONFIRMATION OF
  14                      Debtor.                                       CHAPTER 13 PLAN
  15                                                                    341(a) MEETING:
                                                                        DATE:     May 12, 2020
  16                                                                    TIME:     11:00 AM
                                                                        PLACE: Santa Rosa U.S. Trustee Office
  17
                                                                        CONFIRMATION HEARING:
  18                                                                    Trustee Pending List
  19
                   U.S. Bank National Association, as Indenture Trustee for Towd Point Mortgage Trust Asset-
  20
       Backed Securities, Series 2015-1 1 (hereinafter “Creditor”), secured creditor of the above-entitled
  21
       debtor, Norma Mathilde Flores (hereinafter “Debtor”), hereby objects to the Chapter 13 Plan filed by
  22
       Debtor in the above-referenced matter. The objection is based on Creditor’s Proof of Claim No. 4
  23
       and the authorities cited herein and on such additional submissions and argument as may be
  24
       presented at or before the confirmation hearing.
  25

  26
       1
           This Objection to Confirmation of Chapter 13 Plan shall not constitute a waiver of the within party’s right to receive
  27 service pursuant to Fed. R. Civ. P. 4, made applicable to this proceeding by Fed. R. Bankr. P. 7004, notwithstanding
       Aldridge Pite, LLP’s participation in this proceeding. Moreover, the within party does not authorize Aldridge Pite, LLP,
  28 either expressly or impliedly through Aldridge Pite, LLP’s participation in this proceeding, to act as its agent for purposes
       of service under Fed. R. Bankr. P. 7004.

                                                    -1-                        CASE NO. 20-10093
                                  OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN
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   1                                                  1) INTRODUCTION

   2              Creditor respectfully requests that the Court deny confirmation of the Debtor’s Chapter 13

   3 Plan. Specifically, Debtor’s Plan fails to provide for a cure of Creditor’s pre-petition claim in full.

   4 For the reasons set forth herein, the Court should deny confirmation of the Debtor’s Chapter 13 Plan.

   5                                             2) STATEMENT OF FACTS

   6              1.       Creditor’s claim is evidenced by a promissory note executed by Debtor Norma Flores

   7 (collectively the “Borrower”), and dated September 6, 2002, in the original principal sum of

   8 $172,000.00 (the "Note"). A copy of the Note is attached to Creditor’s proof of claim no. 4 as filed

   9 on the Court’s claims register (“CCR”) in the instant bankruptcy case and incorporated herein by

  10 reference.

  11              2.       The Note is secured by a deed of trust (the “Deed of Trust2”) encumbering the real

  12 property commonly known as 1195 Santa Barbara Dr., Santa Rosa, CA 95404 (the “Subject

  13 Property”). A copy of the Deed of Trust is attached to Creditor’s proof of claim no. 4 as filed in the

  14 instant bankruptcy case and incorporated herein by reference.

  15              3.       Subsequently, the Note was indorsed in blank thereby converting the Note to a bearer

  16 instrument. Creditor, directly or through an agent, is in possession of the original promissory note

  17 indorsed in blank. See CCR, Claim No. 4.

  18              4.       Subsequently, the beneficial interest in the Deed of Trust was transferred to Creditor.

  19 A copy of the Assignment of Deed of Trust is attached to Creditor’s proof of claim no. 4 s filed in
  20 the instant bankruptcy case and incorporated herein by reference.

  21              5.       On February 10, 2020, Debtor filed the instant Chapter 13 bankruptcy petition in the

  22 United States Bankruptcy Court for the Northern District of California, Santa Rosa Division, and

  23 was assigned case number 20-10093.

  24              6.       Debtor’s Schedules I and J in the instant case reflect expenses in the total monthly

  25 amount of $670.00 and income in the total monthly amount of $2,700.00.

  26              7.       On February 10, 2020 the Debtor filed her Chapter 13 Plan (the “Plan”) providing for

  27 monthly payments to the Trustee in the total amount of $1,984.00, for 60 months. Of the sum paid to

  28
       2
           The Note and Deed of Trust are collectively referred to herein as the “Subject Loan.”

                                                    -2-                        CASE NO. 20-10093
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   1 the Chapter 13 Trustee, Creditor will be paid $411.39 per month for 60 months on its pre-petition

   2 arrears, which are listed in the amount of $24,683.29.

   3          8.         On February 10, 2020 the Debtor filed Schedules I and J reflecting disposable income

   4 in the amount of $2,030.00 per month, however, the Debtor proposes to apply only $1,984.00 per

   5 month to the Chapter 13 Plan without explanation as to how the remaining $46.00 in monthly

   6 disposable income will be allocated.

   7          9.         On March 26, 2020, Creditor filed its proof of claim (the “Proof of Claim”) secured

   8 by the Subject Property with a total outstanding balance in the amount of $172,715.33, and a pre-

   9 petition arrearage claim of $42,833.69. See CCR, Claim No. 4.

  10                                              3) ARGUMENT

  11          A. DEBTOR’S CHAPTER 13 PLAN CANNOT BE CONFIRMED AS PROPOSED.
  12
              The provisions of 11 United States Code (“U.S.C.”) Section 1325 set forth the requirements
  13
       for the Court to confirm a Chapter 13 Plan. The burden is on the debtor to demonstrate that the plan
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       meets the conditions essential for confirmation. Warren v. Fidelity & Casualty Co. of N.Y. (In re
  15
       Warren), 89 B.R. 87, 93 (B.A.P. 9th Cir. 1988). For the reasons detailed herein, the Debtor fails to
  16
       meet this burden.
  17
                   1.     Debtor’s Chapter 13 Plan Cannot Be Confirmed Because it Does Not Provide
  18                     for the Full Value of Creditor’s Claim.
  19
              11 U.S.C. Section 1325(a)(5)(B)(ii) requires a debtor’s Chapter 13 Plan to distribute at least
  20
       the allowed amount of a creditor’s secured claim. See 11 U.S.C. § 1325(a)(5)(B)(ii). Furthermore,
  21
       the requirement that a debtor provide for the full value of a creditor’s secured claim is mandatory for
  22
       plan confirmation. See Barnes v. Barnes (In re Barnes), 32 F.3d 405, 407 (9th Cir. 1994); see also In
  23
       re Lucas, 3 B.R. 252, 253 (Bankr. S.D. Cal. 1980)(“In order to confirm any Chapter 13 Plan, the
  24
       court must be satisfied…that the plan meets all the requirements of § 1325(a).”). The burden lies
  25
       with the debtor in demonstrating compliance with section 1325(a). Chinichian v. Campolongo (In re
  26
       Chinichian), 784 F.2d 1440 (9th Cir. 1986).
  27
              The Debtor’s Plan cannot be confirmed as proposed because it fails to properly provide for
  28

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   1 the cure Creditor’s pre-petition arrears in full. As previously discussed, Creditor’s claim for pre-

   2 petition arrears is in the total amount of $42,833.69. See CCR, Claim No. 4. However, the Debtor’s

   3 Chapter 13 Plan provides for the cure of only $24,683.29. As the Debtor’s Plan fails to provide for a

   4 cure of Creditor’s pre-petition arrears in full, it fails to satisfy 11 U.S.C. 1325(a)(5)(B)(ii) and cannot

   5 be confirmed as proposed.

   6                                            IV. CONCLUSION

   7          In light of the Debtors’ Plan’s failure to provide for a cure Creditor’s pre-petition claim in

   8 full, Creditor respectfully requests that the Court deny confirmation of the Debtors’ Chapter 13 Plan.

   9          WHEREFORE, Creditor respectfully requests:

  10          i)      That confirmation of the Debtor’s Chapter 13 Plan be denied;

  11          ii)     Alternatively, that the Plan be amended to provide for the pre-petition arrears listed in

  12 Creditor's Proof of Claim to be paid within a period not to exceed sixty months; and

  13          iii)    For such other and further relief as this Court deems just and proper.

  14

  15                                                   Respectfully submitted,

  16 Dated: 3/31/2020                                  ALDRIDGE PITE, LLP
  17

  18                                               By: /s/ Bryan S. Fairman
                                                      BRYAN S. FAIRMAN (SBN 261087)
  19                                                  Attorneys for U.S. Bank National Association, as
                                                      Indenture Trustee for Towd Point Mortgage Trust
  20                                                  Asset-Backed Securities, Series 2015-1
  21

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  6
  7    Attorneys for U.S. BANK NATIONAL ASSOCIATION, AS INDENTURE TRUSTEE FOR
                      TOWD POINT MORTGAGE TRUST ASSET-BACKED SECURITIES,
  8                   SERIES 2015-1

  9

 10                             UNITED STATES BANKRUPTCY COURT

 11              NORTHERN DISTRICT OF CALIFORNIA - SANTA ROSA DIVISION

 12    In re                                               Case No. 20-10093

 13    NORMA MATHILDE FLORES,                              Chapter 13

 14                    Debtor(s).                          R.S. No.

 15                                                        PROOF OF SERVICE BY MAIL

 16            I, Ciara M. Reboya, declare that:
 17            I am employed in the County of San Diego, California. My business address is: 4375
 18   Jutland Drive, Suite 200; P.O. Box 17933, San Diego, CA 92177-0933.          I am over the age of
 19   eighteen years and not a party to this cause.
 20   On April 1, 2020, I served the OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN,
 21   in said cause by placing a copy thereof enclosed in a sealed envelope with postage thereon fully
 22   prepaid in the United States Mail at San Diego, California, addressed as follows: SEE
 23   ATTACHED SERVICE LIST.
 24            I declare under penalty of perjury that the foregoing is true and correct and that this
 25   declaration was executed on April 1, 2020, at San Diego, California.
 26
                                                      /s/ Ciara M. Reboya
 27                                                   CIARA M. REBOYA
 28




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  1                                          SERVICE LIST
  2   DEBTOR(S)
      (via U.S. Mail)
  3
      Norma Mathilde Flores
  4   1195 Santa Barbara Drive
      Santa Rosa, CA 95404
  5

  6   CHAPTER 13 TRUSTEE
      (via electronic notice)
  7
      David Burchard
  8   P.O. Box 8059
      Foster City, CA 94404
  9   TESTECF@burchardtrustee.com

 10
      U.S. TRUSTEE
 11   (via electronic notice)

 12   U.S. Trustee
      Office of the United States Trustee
 13   Phillip J. Burton Federal Building
      450 Golden Gate Ave. 5th Fl., #05-0153
 14   San Francisco, CA 94102
      USTPRegion17.SF.ECF@usdoj.gov
 15

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